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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1010V
                                        UNPUBLISHED


    KATHY WIMMLER,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: April 2, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Kristen Linnea Blume, Richard Gage, P.C. (WY), Cheyenne, WY, for Petitioner.

Catherine Elizabeth Stolar, U.S. Department of Justice, Washington, DC, for
      Respondent.

                                   RULING ON ENTITLEMENT1

       On July 15, 2019, Kathy Wimmler filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration (“SIRVA”) which meets the Table definition for SIRVA after
receiving the influenza vaccine on October 11, 2017. Petition at ¶¶ 2, 6. Petitioner further
alleges that she received the vaccine in the United States, that she suffered the residual
effects of her SIRVA for more than six months, and that neither she nor any other party
has received compensation or filed a civil action for her SIRVA. Id. at ¶¶ 2, 7-8. The case
was assigned to the Special Processing Unit of the Office of Special Masters.


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       On April 2, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 8.
Specifically, Respondent “concluded that [P]etitioner’s claim meets the Table criteria for
SIRVA.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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